Case 1:21-cr-00552-DLF Document 180 Filed 05/31/23 Page 1 of 1

CO 109A - Rev. 3/2010

UNITED STATES DISTRICT AND BANKRUPTCY COURTS
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

)
)

VS. ) Civil/Criminal No.: CR 21-552
)
KENNETH THOMAS )
)

iS ( CSUNK \_- ‘ ms Ln tig
; = a ry pew SN of rer
MAA € -{ , ( -f-¢ \ (Feo : L.\

 

 

- 2
Date: STSAsS >

Time: __ 3 Lrl bo

 
